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                                               March 7, 2023
VIA ECF
Hon. Valerie E. Caproni
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re:     In re London Silver Fixing, Ltd., Antitrust Litig., No. 14-MD-2573

Dear Judge Caproni:

        On February 27, 2023, the Second Circuit issued its decision in In re Platinum and Palladium
Antitrust Litigation, No. 20-1458 (“Op.”), a copy of which is attached hereto. Platinum definitively
resolves the questions in Defendants’ pending motion for judgment on the pleadings in Plaintiffs’
favor, so expressly and objectively that no further briefing should be necessary. Instead, Plaintiffs
respectfully request that the Court deny Defendants’ motion.

        In Platinum, investors in platinum and palladium brought antitrust and CEA claims against the
banks (including HSBC) responsible for setting the global benchmarks or “Fixing” for those
respective metals. Op. at 4, 7-9. The Platinum defendants raised many of the same arguments as the
Defendants have raised in their motion for judgment on the pleadings here, including that:
            • Futures traders are not efficient enforcers of the antitrust laws because they transacted
                 via an exchange rather than “directly” with any defendant, citing Schwab Short-Term
                 Bond Mkt. Fund v. Lloyds Banking Grp. PLC, 22 F.4th 103 (2d Cir. 2021) (Schwab II).
                 Compare ECF No. 605 at 17-25 with Op. at 25-30.
            • Plaintiffs’ CEA claims were impermissibly extraterritorial, citing Prime International
                 Trading, Ltd. v. BP P.L.C., 937 F.3d 94 (2d Cir. 2019) and Laydon v. Coöperatieve Rabobank
                 U.A., 55 F.4th 86, 98-99 (2d Cir. 2022). Compare ECF No. 605 at 25-29 with Op. at 32-
                 36.
            • Plaintiffs failed to allege injury for either antitrust or CEA purposes under Gamma
                 Traders – I LLC v. Merrill Lynch Commodities, Inc., No. 21-853, 2022 WL 2821504 (2d
                 Cir. July 20, 2022) (“Gamma”). Compare ECF No. 605 at 12-16 with In re Platinum &
                 Palladium Antitrust Litig., No. 20-1458, ECF No. 240-1, at 1 (“Gamma Letter”)
                 (defendants’ supplemental law letter arguing “Gamma confirms that plaintiffs do not
                 adequately plead either antitrust injury or ‘actual injury’ caused by a violation of the
                 Commodity Exchange Act.”).

        The Defendants also relied heavily upon the district court’s motion to dismiss opinions in
Platinum in support of their arguments for dismissal here. See ECF No. 605 at 3, 9, 18, 24, 26, 28. For
the reasons detailed below, the Second Circuit’s opinion in Platinum requires denial of Defendants’
Rule 12(c) motion.



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         The Exchange Plaintiffs Are Efficient Enforcers

        In reasoning equally applicable here, the Second Circuit in Platinum held that platinum and
palladium futures traders are efficient enforcers of the antitrust laws, rejecting identical arguments
asserted by Defendants in their Rule 12(c) motion. 1

         First, the Second Circuit found that “Exchange Plaintiffs suffered a direct injury” “at the first
step” by alleging (just like Plaintiffs here) that “defendants manipulated the futures market to profit
from futures contracts transactions, while the Exchange Plaintiffs simultaneously lost money through
futures contracts transactions in the same market.” Op. at 25; compare TAC ¶ 14 (“This coordinated
manipulative conduct was intended to capitalize on the zero-sum nature of derivatives trading,
including in COMEX silver futures contracts, and to extract illicit profits for Defendants from
Plaintiffs and other Class members who held the opposite position”); see also id. ¶¶ 111, 113, 201-202,
206-219, 328, 377.

         The Second Circuit rejected defendants’ argument that because the futures exchange serves as
the nominal counterparty to all futures transactions on the exchange, plaintiffs’ injury was not direct:
“To argue, as the defendants do, that interposing a clearinghouse immunizes misconduct on an
exchange market from antitrust liability is to exalt form over substance.” Op. at 26. The Second Circuit
also dispensed with the notion that futures traders could only be directly injured if the defendants
dominated the futures market in question: “Although the defendants’ market share may inform the
amount of damages the Exchange Plaintiffs can seek, we disagree that it can render the Exchange
Plaintiffs’ injury indirect.” Id. at 27.

         Further, the court found that there were “no more direct victims than the Exchange
Plaintiffs.” Id. at 28. On this point, the Platinum defendants had argued (like Defendants here) that
traders in the physical metals market who had traded directly with them would be the most direct
victims. See id. at 27. The court was unpersuaded: “[B]ecause we hold that the Exchange Plaintiffs are
direct victims, even if we were to include the victims in the physical market in our analysis, there is no
reason to think that those victims are more direct than the Exchange Plaintiffs. Nor does it make sense
for victims in one market to disqualify victims in a different market from bringing suit.” Id. at 29.

        Finally, the court rejected defendants’ arguments that damages would be overly speculative:
(“A damages calculation for a market manipulation scheme…is hardly beyond the ken of federal
courts,” Op. at 29-30), and held that there was no risk of duplicative recoveries, because there was no
intermediary between the futures traders and the defendants who could sue for defendants’
anticompetitive behavior in the exchange markets. Id. at 30. Having found that each of the four
efficient enforcer factors favored plaintiffs, the court held that the futures trader plaintiffs had antitrust
standing.




1The court also held that a plaintiff that had traded physical metals with third parties was not an efficient enforcer. Op. at
17-24. Accordingly, Plaintiffs here no longer assert antitrust claims on behalf of physical silver traders.
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        Plaintiffs’ CEA Claims Are Domestic

         Like the Silver Fixing, the platinum and palladium fixing calls took place in London. Brief for
Plaintiffs-Appellants-Cross-Appellees, In re Platinum & Palladium Antitrust Litig., No. 20-1458, ECF
No. 80, at 3. The Second Circuit nonetheless held that the plaintiffs’ CEA claims for manipulating the
benchmark prices of platinum and palladium were domestic. See Op. at 31-36. The allegations upon
which the court relied in reaching that conclusion are equally present here and compel the same result.

         “[S]tating a proper claim under [CEA] section 22 has two requirements”: a domestic
transaction, and domestic conduct by defendants “that is violative of a substantive provision of the
CEA.” Op. at 32 (quoting Prime International Trading, Ltd. v. BP P.L.C., 937 F.3d 94, 105 (2d Cir. 2019)).
The Second Circuit found that the domestic transaction requirement was satisfied by the futures
traders’ allegations “that they sold NYMEX platinum and palladium futures contracts.” Op. at 33;
(“Such sales on a domestic futures exchange are domestic transactions.”). Similarly, Plaintiffs here
allege that they traded COMEX silver futures contracts. TAC ¶ 328.

         With respect to domestic conduct, the Second Circuit noted that “each of [the defendants]
conducts precious metals trading in the United States.” Op. at 34. The plaintiffs alleged that
defendants “collusively shar[ed] and act[ed] on non-public information regarding client orders
(including stop loss orders) shortly before and during the AM and PX Fixing,” resulting in “moving
Physical and NYMEX Platinum and Palladium prices in advance of and even during the Fixing.” Id.
at 35. Their theory was that defendants “traded in the physical and NYMEX markets to influence the
Fixing,” in addition to profiting from it. See Op. at 35. The Second Circuit specifically rejected the
district court’s finding that this theory was “implausible,” and stated that the “district court erred in
discounting” it. Id. (citing In re Platinum & Palladium Antitrust Litig., 449 F. Supp. 3d 290, 332 (S.D.N.Y.
2020)). Accordingly, plaintiffs’ allegations regarding defendants’ trading on United States exchanges
sufficed to allege “domestic conduct” justifying a domestic application of the CEA.

         Here too, Plaintiffs allege that Defendants engaged in manipulative trading on COMEX in
tandem with their manipulation of the Fixing itself, using their “advance knowledge of the Fix price
direction” to “consistently generate[] large returns” just before and during the Fixing, at the expense
of their unwitting counterparties. TAC ¶ 205; see also id. at ¶¶ 199-219. Just as in Platinum, Plaintiffs
allege that “Defendants’ silver trading positions directly contributed to the pricing dysfunction in the
silver market as Defendants engaged in collusive trades to create and profit from artificiality in the
price of physical silver and silver financial instruments.” TAC ¶ 249 (emphasis added); see also id. ¶ 285
(chat between Deutsche Bank and HSBC “shar[ing] information regarding Deutsche Bank’s and
HSBC’s net silver trading positions during and after the Fix”); id. ¶ 16 (“Defendants also illegally
shared proprietary information about their incoming silver order flow heading into the start of the
Silver Fix in order to coordinate illegitimate transactions in advance of the daily auction.”). These
allegations constitute “domestic conduct” under Platinum and render Plaintiffs’ CEA claims domestic.

        Plaintiffs Have Adequately Alleged Antitrust and CEA Injury

      Finally, Platinum disposes of Defendants’ argument that Plaintiffs have failed to allege antitrust
or CEA injury. The Platinum defendants submitted a supplemental law letter to the Second Circuit on
Gamma making the identical arguments that Defendants have put forth in their 12(c) motion here. In
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particular, the defendants in Platinum asserted that under Gamma, “plaintiffs cannot establish actual
injury simply by alleging ‘sales on manipulation dates,” for either antitrust or CEA purposes. Gamma
Letter at 1. Instead, they argued, the plaintiffs would have had to plead “precisely when” during the
trading day they had traded, to “justify[] an inference that they sold in the brief window during which
defendants’ suppression purportedly affected prices.” Id. at 1-2. Compare ECF No. 605 at 12-16
(making same argument here).

         The Second Circuit rejected this argument, finding instead that the plaintiffs had indeed pled
antitrust injury. See Op. at 17 (“[T]he Exchange Plaintiffs have antitrust standing.”); id. at 16 (explaining
that antitrust standing requires plaintiffs to show antitrust injury as well as efficient enforcer status). 2
It did so without even bothering to directly address Gamma, in all likelihood because (as Plaintiffs have
explained), the spoofing scheme at issue in Gamma is highly distinguishable from the benchmark
manipulation allegations here. See ECF No. 606 at 15-19. Platinum thus confirms that Gamma does not
change this Court’s prior holding that Plaintiffs pled antitrust injury by alleging they traded on days
that Defendants manipulated the Fixing.

        Indeed, the facts in this regard are even stronger here than in Platinum. In Platinum, the plaintiffs
“affirmatively plead that the effects of defendants’ manipulation lingered for only a short time after
the auction before rebounding to market prices.” Gamma Letter at 1-2. Plaintiffs here have pled just
the opposite. The TAC includes economic analyses showing that the price impact of Defendants’
manipulation lasted throughout the trading day and was also cumulative over time. See TAC ¶¶ 163,
195-98; Figs. 14-15, 33-34. Allegations that Plaintiffs were injured when they traded on the same days
that Defendants manipulated the Fixing are thus even more plausible than those in Platinum.

                                       ***
        For the foregoing reasons and those set forth in Plaintiffs’ earlier briefing, Defendants’ motion
for judgment on the pleadings should be denied.

    Dated: March 7, 2023                                     Respectfully submitted,
    White Plains, New York
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2 With respect to CEA injury, the district court had never ruled on the issue one way or the other. The Second Circuit
accordingly vacated dismissal of the CEA claims on extraterritoriality grounds and remanded for consideration of the
substantive elements of the claim. See Op. at 36.
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